         Case 1:16-cv-01000-RJJ-RSK ECF No. 19, PageID.303 Filed 01/04/17 Page 1 of 2
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    Western District of Michigan                              on the following
      G
      ✔ Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       1:16-cv-1000                        8/10/2016                                         Western District of Michigan
PLAINTIFF                                                                    DEFENDANT
 Herman Miller, Inc.                                                           Gold Leaf Holding Ltd., a Canadian corporation doing
                                                                               business as Rove Concepts


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 733,770                                   7/3/1962                   Herman Miller

2 1187673                                  1/26/1982                   Herman Miller

3 2,716,843                                5/20/2003                   Herman Miller

4 3105591                                  6/20/2006                   Herman Miller

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    Order entered 1/3/2017 granting stipulation to dismiss.



CLERK                                                        (BY) DEPUTY CLERK                                          DATE
                          Thomas L. Dorwin                                                                                     1/04/2017
Clerk of Court                                                 /s/Carole Poggi              /s/ K. Wright                      8/11/2016

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
                                                              Continued on Page 2
Case 1:16-cv-01000-RJJ-RSK ECF No. 19, PageID.304 Filed 01/04/17 Page 2 of 2
AO 120 (Continuation Page - MIWD 1/08)


 DOCKET NO.



  DECISION/JUDGMENT CONTINUED
